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           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


EMILY SHILLING, et al.,

      Plaintiffs-Appellees

v.
                                                             No. 25-2039
DONALD J. TRUMP, in his official capacity as
 President of the United States, et al.,

      Defendants-Appellants



                CIRCUIT RULE 27-3 CERTIFICATE

     1.    The contact information of the counsel for all parties is as

follows:

     Counsel for Defendants-Appellants:

     Michael S. Raab (michael.raab@usdoj.gov)
     Ashley C. Honold (ashley.c.honold@usdoj.gov)
     Amanda L. Mundell (amanda.l.mundell@usdoj.gov)
     U.S. Department of Justice
     950 Pennsylvania Avenue NW
     Washington, DC 20530
     (202) 305-1754

     Counsel for Plaintiffs-Appellees:

     Matthew Gordon (mgordon@perkinscoie.com)
     Abdul Kallon (akallon@perkinscoie.com)
     Perkins Coie (SEA)
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1201 3rd Avenue, Suite 4900
Seattle, WA 98101
(206) 359-8000

Ami Rakesh Patel (ami.patel@hrc.org)
Sarah Warbelow (sarah.warbelow@hrc.org)
Cynthia C. Weaver (cynthia.weaver@hrc.org)
Human Rights Campaign
1640 Rhode Island Avenue NW
Washington, DC 20036
(202) 993-4180

Bo Yan J. Moran (bmoran@perkinscoie.com)
Mary Thurmon (mthurmon@perkinscoie.com)
Perkins Coie LLP (PA CA)
3150 Porter Drive
Palo Alto, CA 94304
(650) 838-4355

Camilla B Taylor (ctaylor@lambdalegal.org)
Kenneth D. Upton, Jr. (kupton@lambdalegal.org)
Lambda Legal Defense and Education Fund Inc. (IL)
3653 N Halsted Street
Chicago, IL 60613
(312) 663-4413

Danielle E. Sivalingam (dsivalingam@perkinscoie.com)
Perkins Coie LLP (SF)
505 Howard Street, Suite 1000
San Francisco, CA 94105
(415) 954-3223

Gabriella Marie Romanos Abihabib (gromanos@perkinscoie.com)
Perkins Coie LLP (NY)
1155 Avenue of the Americas, 22nd Floor
New York, NY 10036
(332) 223-3977
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     Jennifer C Pizer (jpizer@lambdalegal.org)
     Lambda Legal Defense and Education Fund Inc. (CA)
     800 S Figueroa Street, Suite 1260
     Los Angeles, CA 90017
     (213) 382-7600

     Kell L Olson (kolson@lambdalegal.org)
     Lambda Legal Defense and Education Fund Inc. (AZ)
     3849 E Broadway Boulevard, Suite 136
     Tucson, AZ 85716
     (520) 250-4596

     Omar Gonzalez-Pagan (ogonzalez-pagan@lambdalegal.org)
     Lambda Legal Defense and Education Fund Inc. (NY)
     120 Wall Street, 19th Floor
     New York, NY 10005
     (646) 307-7406

     Sasha J Buchert (sbuchert@lambdalegal.org)
     Lambda Legal Defense and Education Fund Inc. (DC)
     111 K Sreet NE, 7th Floor
     Washington, DC 20002
     (503) 688-8071

     2.    This motion requires resolution on an emergency timeframe

because the district court’s order bars the Department of Defense from

implementing its 2025 policy and effectively requires the Department to

maintain a policy that it has determined undermines military readiness

and lethality. The Department therefore seeks a stay pending appeal of

the district court’s preliminary injunction, and respectfully suggests that

the Court enter an immediate administrative stay to allow for orderly

briefing and adjudication of this motion.
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     3.    This motion could not have been filed earlier. The district

court entered its preliminary injunction in this case on the evening of

March 27, 2025, after denying the government’s request to stay the

injunction pending appeal. That same night, the Acting Solicitor General

authorized the government to appeal the judgment and seek a stay

pending appeal. The government noticed this appeal the next morning,

on March 28.

     4.    I notified the Court’s emergency motions unit by email

(emergency@ca9.uscourts.gov) that the government would be filing this

motion.

     5.    I notified counsel for plaintiffs that the government would be

filing this motion, and I have served this motion on those counsel by

email contemporaneously with its filing. Plaintiffs oppose this motion.



                                              /s/ Amanda L. Mundell
                                              Amanda L. Mundell
